                Case 14-14698-LMI        Doc 128     Filed 03/28/16     Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                              Case Number: 14-14698-LMI
IRIS M ORTIZ
JOSE R ORTIZ
      Debtor
____________________________/

     MOTION FOR CLARIFICATION OF ORDER GRANTING MOTION TO VALUE
           AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this Motion to Dismiss

and states as follows:

         1) The Debtors' Schedule A reflects that the debtor has interest in two properties, 13404

SW 153 Terrace ("Homestead Property") and 1655 West 44Place, Apt 237.("Apartment

Property").

         2) The Debtors' Schedule D reflects that there is no mortgage on the Homestead Property

and two mortgage on the Apartment Property.

         2) The debtor filed a motion to modify a mortgage recorded at OR Book 24500 page

00075 held by PNC Mortgage secured by the Apartment Property (ECF #64) and filed a renewed

motion with the same information (ECF #107).

         3) Deutsche Bank filed a response to the Motion to Value (ECF #94) stating that the loan

number does not match the OR Book and Page known by the mortgage holder.

         4) Deutsche Bank filed a response to the renewed Motion to Value (ECF #109)

         5) An agreed order valuing the property located at 1655 W 44th Place, Hialeah, FL was

entered on September 1, 2015. The order states that the mortgage valued is recorded at OR Book

24501 Page 3234. The agreed order also provides for payment of an unsecured portion of Claim
               Case 14-14698-LMI        Doc 128       Filed 03/28/16    Page 2 of 2



#4.

       6) Deutsche Bank filed a claim ("Claim #4") as a mortgage secured by the Homestead

Property and attached the mortgage recorded at OR Book 24501 Page 3234.

       7) The plan states that the Homestead Property was surrendered to PNC Mortgage in

month 17.

       8) The Trustee is not certain if there is an unsecured portion of the valued property as

there is no claim filed for the Apartment Property.

       9) The plan pays for the valuation of the rental property but the order of valuation uses

the OR Book and Page of the mortgage secured by the Homestead Property.

       WHEREFORE, the Trustee requests that this Court enter an order striking the unsecured

portion of the order on valuation and clarify that the order of valuation is on the mortgage

secured by the Apartment Property.



                                              RESPECTFULLY SUBMITTED:

                                                      NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806

                                                      By: /s/___________________
                                                      Amy Carrington, Esq.
                                                      FLORIDA BAR NO: 101877

                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing and the Ntice of Hearing
generated by ECF was served through NEF on Daniel M Keil, Esq; Jeffrey Frazer, Esq; Annessa
S Kalloo, Esq

                                                      NANCY K NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
